                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
         Plaintiff,                              )
                                                 )
   v.                                            ) Criminal Action No.
                                                 ) 07-00255-05-CR-W-ODS
CHRISTOPHER D. WAGGONER,                         )
                                                 )
         Defendant.                              )

                                            ORDER

        On November 7, 2007, counsel for Defendant filed a motion for a judicial determination of

mental competency. Defendant was examined by Dr. John Wisner and a competency hearing was

held before United States Magistrate Judge Robert Larsen on January 3, 2008. The parties stipulated

to Dr. Wisner’s report, in which Dr. Wisner opined that Defendant is not competent to stand trial.

        Therefore, after making an independent review of the record, it is

        ORDERED that Defendant’s motion for judicial determination of mental competency is

granted, the Report and Recommendation of Magistrate Judge Robert Larsen is adopted in its

entirety, and this court finds that Defendant is incompetent to stand trial and assist in his own

defense. It is further

        ORDERED that Defendant be committed to the custody of the Attorney General for

hospitalization and treatment pursuant to 18 U.S.C. §4241(d).


                                                     /s/ Ortrie D. Smith
                                                     ORTRIE D. SMITH
                                                     United States District Judge

Kansas City, Missouri
January _9_, 2008




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